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9°

* CALIFORNIA PENAL CODE SECTION 3046

$3046.

(a) No prisoner imprisoned under a life sentence may be
paroled until he or she has served the greater of the
following:

(1) A term of at least seven calendar years.

(2) A term as established pursuant to any other
provision of law that establishes a minimum term or minimum
period of confinement under a life sentence before
eligibility for parole.

(b) If two or more life sentences are ordered to run
consecutively to each other pursuant to Section 669, no
prisoner so imprisoned may be paroled until he or she has
served the term specified in subdivision(a) on each of the
life sentences that are ordered to run consecutively.

(c) The Board of Prison Terms shall, in considering a
parole for a prisoner, consider all statements and
recommendations which may have been submitted by the judge,
district attorney, and sheriff, pursuant to Section
1203.01, or in response to notices given under Section
3042, and recommendations of other persons interested in
the granting or denying of the parole. The board shall
enter on its order granting or denying parole to these
prisoners, the fact that the statements and recommendations
have been considered by it.
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EXHIBIT G
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lone, California

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PSYCHOSOCIAL ASSESSMENT

|. IDENTIFYING INFORMATION

inmate Name:

CDC Number:

DOB (Current Age):

BPT Calendar Date:

Controlling Offense:

Date of Offense (Age at Time): -
County of Offense: So
Sentence:  .

Date Entered CDC:

Location of Inmate at Time of Evaluation:
Date Entered Above Institution:
Classification Score:

Dates of Evaluation:

CDC Evaluator: —

Hl. SOURCES OF INFORMATION -

MACKEY, James Oliver
E-76532 ©

* 8/12/64 (40)

2004

PC 187, Murder, First Degree

2-28-89 (24)

San Joaquin County *
_ 25 Years to Life
*. 41-20-90 ©

Mule Creek State Prison

1-11-93
>. 19 (10-06-04)
10-16-04 and 10-26-04
'- Janet M. Mahoney, Ph.D.

Licensed Psychologist

James Oliver Mackey. (CDC No. F-76532) was interviewed at Mule Creek State
Prison on 10-16 and 10-26-04 for a total of approximately two-and-a-half hours.

His Central File and Unit Health Record were reviewed by the undersigned. This
report i is a composite of information from these sources. :

Inmate Mackey was informed that the interview was not confidential and that a
report with the results of the evaluation would be submitted to the Board of

Prison Terms (BPT).

The inmate appeared to understand the nature of the

evaluation and the possible consequences of the interview. It was my conclusion
that it was not necessary to provide auxiliary aides or assistance to achieve
communication.

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"Case 2:07-cv-00347- ALA Document 1- 5 Filed 01/13/07 Page 5 of 46

° U, CONTROLLING OFFENSE -

- On February 28,-1989, Mr. Mackey’'s accomplice, Carl Hancock, lured realtor
Laurence Carnegie to a piece of property east of Lodi where Mr. Mackey, waiting
jn a darkened garage, shot Mr. Carnegie with a crossbow as part of a murder-for-
hire agreement with a businessman named Michael Blatt: Interrupted by a.
woman who drove onto the property, Mr. Mackey kicked the injured victim into

‘unconsciousness and he and Hancock loaded the victim into the trunk-of a rental
car. They drove some distance (reports hypothesize Mendocino County) before

_ stopping the car. Determining that Mr. Carnegie was still alive, they completed

the murder by strangling the victim with.a length of rope that had been purchased

earlier in the day. They then drove to another location:in Mendocino County and

dumped the body. .

A second murder-for-hire of a man : named John Farley was planned ‘but never
executed. Mr. Farley had a lawsuit against Mr. Blatt.

The inmate's written. statement about: the offense is transcribed into the Life
Prisoner Evaluation prepared for the. December 2004 Calendar. As for the
victim, Mr. Mackey stated that he did not know him, but he did know who he was.
Inmate Mackey stated that Blatt blamed the victim’s lawsuit against him (Blatt) as __
the reason that the Mackeys could not purchase the condominium in which they °
were living. He asked Mr. Mackey to arrange for his murder. Mackey then hired
fellow football player, Carl Hancock to participate in the. murder.

In Mr. Mackey’s Central File is an 41/20/90 letter from San Joaquin County D. A,
John Phillips’ letter that was written before the second trial of Mr. Blatt in which
Mr. Mackey testified for the prosecution. Mr. Mackey pointed to this letter as
evidence that an early parole was part of his plea bargain and as exchange for
testimony in the Blatt prosecution.

In our interview, Mr. Mackey said, “that wasn’t me,” not in denial of his
participation, but in denial of that which he is capable. He.stated that he was
sorry for the crime, but made points that attempted to mitigate his responsibility. .
He stated that he was a victim of Michael Blatt. He stated that his original intent
‘was fo contract out the murders and not participate in them directly. He stated
that the reason why it was he who shot the crossbow was that he was better at it
than his crime partner. He stated that Hancock performed the final strangulation.
It was important for me to know that he was going to pass the murder fee on to

Hancock, that he (Mackey) had done this solely to curry favor with Blatt. Each of »

these. statements | isa weak k attempt to deny responsibilty

;

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WV. BACKGROUND INFORMATION/LIFE HISTORY -

Developmental History

Inmate Mackey reported that, to the best of his knowledge, his -mother
_ experienced no prenatal or perinatal problems in her pregnancy. He stated that,

to his knowledge, there were no, problems with his attaining developmental
milestones. Inmate Mackey denied a history of enuresis, firesetting, or cruelty to
animals. He denied being the victim of childhood sexual abuse. He reported
- that, as a child; his stepfather had physically abused him.

-Family. History

Mr. Mackey’s mother’s fi rst marriage was to a man named Esbridge. This

_Martiage produced three sons. At the time of Mr. Mackey’s birth, his mother was _—

married to a man named Mackey, This’ marriage’ produced one son and one
' daughter. ‘Mr. Mackey stated that his father is actually a man named Clarence
Rolin, a Korean and Vietnam War veteran with whom Mrs. Mackey was having
an affair. Shortly after the inmate was born, the Mackeys were divorced. The
inmate’s mother then married a man named Walker for “a couple of years.” This
marriage produced a daughter.. In all, the inmate, has four half-brothers and two
half-sisters. Finally, the inmate’s.mother married a man named Holmes.. Inmate
' Mackey ‘stated that Holmes would strip the inmate naked and beat him with an
. extension cord. Inmate Mackey reported that stepfather Holmes also molested
one of his sisters. Mr. Mackey stated that his stepfather was in the Merchant
. Marinés, so there would be periodic respites from the abuse. He stated that his
mother was usually working two’ jobs. |

Mr. Mackey stated that his mother favored him and saw him as her “love. child.”
Naturally, this caused issues with his. siblings. He’ stated that he did not want to
be at home when his mother wasn't there and that, in early years, he would be in
trouble at school for fighting. He reported going to school after being beaten by:
his stepfather with blood stuck to the back of his shirt. He stated that once, when
a teacher was bringing him home, he confided in-her about the abuse in the

household. He stated that the. teacher took him_into the house and told. his.

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Mr. Mackey reported that he didn’t like to take orders, but as he got older, he
found that he could take direction from whoever was his coach. At school, he
was popular, adapted a persona of a “tough guy or rebel, wanting to do my own
thing and not be part of the crowd,”

Mr. Mackey reported that his mother died last December. Mr. Mackey reported ©
that he had met his biological father once, when he was 17. Since his mother’s

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death, Mr. Mackey has made contact with his biological: father, who lives. ins
Oklahoma. -

Inmate Mackey told me that he is in contact.with two of his siblings: his sister,
Angela Criner of Tulsa, and his brother, Kenneth Esbridge of French Camp. Mrs.

Criner, 42, is married, has two children, and has no drug or criminal history. The
siblings have telephone contact twice a month. Mr. Esbridge, 45, is divorced.

He is a government employee at Sharp Ss Army Depot. He has been imprisoned.
for drug sales.

Ina second review of Mr. Mackey's Central File, | found that on 5/13/04, he had
been. given permission to correspond with another half-brother, Robert Esbridge,
at the Federal Correctional Institution in Beaumont, Texas.

Education

inmate Mackey reported doing well in school, both academically and in sports.

He stated that he was able to help the siblings who gave him so much trouble at _- .

. home with their homework. He reported graduating high school and getting a
football scholarship to University of the Pacific (UOP.) He graduated from UOP
. with a degree in physical education. Information in his Central File confirms this. —

While in prison Mr. Mackey stated that ‘he has pursued correspondence
education and has applied to graduate school in Humanities at California Stale
. College - Dominguez Hills.

Marital History/Children

inmate Mackey reported that he married in May, 4987. Mr. Mackey reported that

- Sharon came from a wealthy Sacramento family and was used to nice things.

~ While he still had feelings for another women, his first real girlfriend, he married
Sharon. “Her mother died just before | was going to break up with her. | ended

_up getting married for all the wrong reasons. It was very comfortable.” A son, .
Kevin, now aged 15 was produced from this marriage. Although mother and son
live i in Elk Grove, there has been no contact in the past fi ive years.

Mr. Mackey married Janet Walther in 1993. He reported that had | known her
since junior high school. He stated that she lives in Manteca and has two
daughters aged 23 and 17. Mr. Mackey reported that his wife is a logistics ©
coordinator (product orderer) for a food company. He said that she is also a
’ dance instructor. Inmate Mackey reports that his wife has no criminal or
substance abuse history. .

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Militar / Histon

The inmate has never been in the military.

Employment History

Mr. Mackey reported that his first job was a paper route.’ When he was 13, he
lied to say that he was 15 or.16 and was able to get a job as a janitor.. He also
stated that-he had early experience in coaching, landscaping, and working ona
military base as a taxi driver. oo,

Mr. Mackey reported that the first summer of college, he worked landscaping.
The second summer, he reported functioning as a bodyguard for his ex-wife's
mother who was having trouble with a business partner, and the third summer he
reported being a loader at a cabinet-manufacturing business.

Inmate Mackey suffered knee injuries while playing college sports. He.
remembered that as he was graduating, he went to the LA Raiders training
camp. Even though it was not surprising that he didn’t make the cut, when he
returned north, Mr. Mackey told others that he had turned the Raiders down
because it was important to keep up appearances..

During college, Mr. Mackey started developing a business as a personal trainer,
and on graduation, he became a real estate sales person. He reported that he
-also sold sports stories to the local paper while in college, and ‘since he has been
in prison, he reported that he had a story published (1995) in “Magazine for
Christian Youth.”

Within the institution, Mr. Mackey is currently employed. as a clerk in the

‘Enhanced Outpatient Program. Sometimes he is employed as an EOP Aid in the
same program. Mr. Mackey, usually achieves. “exceptional” work ratings.

1 CRIMINAL HISTORY

According to his Gentral File, Mr. Mackey has no prior criminal history. Within
the institution, Mr. Mackey has received one CDC-115 for horseplay occurring on
Christmas Day, 1996:

..While returning from the evening meal, | observed MACKEY grab Woods by the jacket
and throw Woods in a circular motion towards door 2 of building 6. MACKEY continued to
walk, with several other black inmates, towards building 7.. When Woods caught up to the
slow walking group of black inmates, MACKEY again quickly. grabbed Woods by the jacket
and pulled Woods down. MACKEY then placed his right arm around Woods’ head in a
headiock, | notified OBB, via radio, to put the yard down. Both MACKEY and Woods sat
down on the track. Myself and other responding staff placed both inmates in handcuffs and

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Case 2:07-cv-00347-ALA Document1-5 . Filed 01/13/07 Page 9 of 46 -
escorted them to the program office. It should be noted, that upon arriving at the incident |
neither Inmate appeared excited or agitated. During the interviews, both Inmates claimed -
they were horseplaying. MACKEY was trying to remove Woods’ hat to expose Woods’
haircut. Both inmates demeanor was more consistent with horseplay than with a physical —
altercation. .

There were no counseling memos in Mr. Mackey’s Central File.

Vi. SUBS TANGE ABUSE HIS TORY

Mr. ‘Mackey reported a minimal substance use history. He reported: that he had
used wine and beer, but that he could nurse a beer all night. He reported that he
had never been drunk. And he reported that he tried marijuana once in the
eighth grade. This is consistent with the information in the Probation Officer's
Report.

Mr. Mackey reported that he had attended Alcoholics Anonymous | for about six
months in 1999. :

VIL INSTITUTIONAL ACTIVITIES:
I found the following documents for the last decade | in the inmate’s c- File

Chronos representing, efforts at self-development:.
9/26/04 —- “Forty Days of Purpose,” Bible Study Pastor Scott Barham

. 8/1/04 “Breaking the Cycle,” Part 2 (i 5 Weeks) Pastor Scott Barham .
411104 - “Breaking the Cycle,” Part1 =~ Pastor Scott Barham
12/3/03 . “Supernatural Ministries” (17 weeks) Pastor Scott Barham
8/1/03 “Taking the Limits Off Life” (12 Weeks) Pastor Scott Barham
211102 “The Four Agreements” M. Kay, CCIl.
5/10/01. “Houses of Healing” -  M. Merritt CCH -
7/8/99 “Communication Styles and Skills” M. Merritt CCII a
8/6/98 . “Great Truths of the Bible-Tier‘One” = Crossroads Bible Institute
10/9/95 ~ “Understanding Your Feelings” M. Merritt, CCH >
5/1/95 “A Framework for Recovery” -M. Merritt CCII
Laudatory chronos: _ .
1/22/04 ~—_ EOP Aid. | N. Andrews, Psych Tech
7/12/02 Lifesaving of inmate. C.O. E. Hobbs
3/8/01 Invaluable assistance in Mental R. Geyser, Recreational
. Health Program. Therapist
12/21/99 Mental Health Program Lynn Arbios, Medical Scty
3/21/96 27 months as CC-Il clerk . R. W. Townsend, CCil

4/14/94 Laudatory CC-II clerk. . . ‘R.X. Perry, CCIl

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, Certifications. ,

6/29/04 .. EPA Section 608 Universal Certification 96% score

10/1/04 —_- Heating/Ventilation/Air Conditioning/Refrigeration

6/9/04 | Paralegal Foundation Course Professional Career Development
Institute Cumulative Grade 96°

Vill, PSYCHIATRIC AND MEDICAL HISTORY

.Mr. Mackey has no mental health complaints and has never had any mental.
health treatment. .

. Medically, he reports that he has. joint problems in both knees and both
shoulders. Since 1998, he has had a problem with headaches when he tries to.
concentrate. He describes the headaches as the muscles around his temples

. “bunching up.” He has had an MRI and is waiting for ‘follow-up medical
evaluation. .

IX. CLINICAL ASSESSMENT

A. _GURREN r MENTAL S TA TUS/T REA TMENT NEEDS

Inmate Mackey is a soft-spoken His speech was clear and of a normal: rate and
_thythm. He was cooperative with the interview, eye contact was good, and no
psychomotor difficulties were ‘evident.

_ The inmate's mood was outhymic. His affect was mildly subdued. The inmate

denied perceptual disturbances. His thought process was sequential. There was ©

. no evidence: of psychotic process and no delusional material was expressed.
When asked to interpret proverbs, ‘he liad rio difficulty with abstractions.

He was alert and fully oriented, He had one concentration lapse | in serial sevens: .
He lost track after'51, corrected to 64, then recorrected to 61 and proceeded to

-the end without further interruption. He could spell WORLD forwards and
backwards. Mr. Mackey could remember three out of three items immediately
and at five minutes. | noted no problems with long-term memory. He seemed to
have above average intelligence. Judgment, in response to formal questions,
was good. Practical Judgment i in most situations also seems good.

“Th have no treatment Fecommendations for Mr. “Mackey” ‘)

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B. DIAGNOSTIC IMPRESSION

Axis |: .. V71.09 No diagnosis

Axis Il: V71.09 No diagnosis

Axis Ill: Headaches; joint pain

- Axis IV: Incarceration, life term
Axis V: . 85

X, PLANS IF GRANTED RELEASE

_ if granted release, Mr. Mackey plans to live with his wife, Janet Walther-Mackey
in Manteca. In his.Central File there are two job offers, one as a forklift operator:

— at $14.00/hour and one as a machine operator as $11.00.. Additionally, Mr.

Mackey is fully qualified with an EPA certification as a heating, ventilation, air-
conditioning, and refrigeration technician that is apparently quite a marketable
skill. Mr. Mackey has pe ore viabl exceptionally well as a clerk and has a college

er a
a

_ Mr. Mackey also has plans to continue his interest i in writing.

Xi. RISK FOR VIOLENCE

Mr. Mackey was a high-functioning individual in the community and has
continued to be a high-functioning inmate. He has .no juvenile history, no
substance abuse history, and has been an excellent. programmer within CDC.
Outwardly, he has: both the abilities. and _ interpersonal skills for. a successful

_ In this case, the dynamics lie within the crime scenario, and to the extreme, and
‘violent lengths to which Mr.’ Mackey was willing to go for personal gain and
recognition..On. interview, Mr. Mackey attempted to mitigate his responsibility for
his own actions by shifting blame onto others. (See Section Ill. )

In my opinion, Mr. Mackey poses a moderate tisk for reoffense ff if released to the

community: at this time. ee

Xil, CONCLUSION

James Oliver Mackey is a 40 year-old African-American inmate convicted of PC
487, Murder in the first degree, for a murder-for-hire that occurred in 1989. Mr.
Mackey has no juvenile history, no prior criminal record and no substance abuse
issues. Within CDC, he has been an excellent programmer, with only. one CDC-

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Case 2:07-cv-00347-ALA Document1-5 Filed 01/13/07 Page 12 of 46

415 that was for horseplay. His CDC work evaluations have ranged from, °
satisfactory to exceptional, most often being placed at exceptional.

Due to the nature of the crime and Mr. Mackey’s inability to take full responsibility

- for it, it is my opinion that Mr. Mackey poses-a moderate risk for violence as a

calculated, preplanned means to an end if released to the community at this time.

We

Janet M. Mahoney, Ph.D.
Contract Psychologist

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Case 2: On -cv-00347- AL AULD CEREBRISEATE raREBON 3107 Page 13 of 46 .
Health Services Unit co, .
4001 Highway 104
Tone, CA 95640

August 11, 1993
PSYCHIATRIC EXAMINATION FOR BOARD oF PRISON TERMS

This. ‘is the: first report to the Board of. Prison Terms ‘and is the
result of a 30-minute interview and review of the C-File, a single
contact for this report | only. oo

PSYCHIATRIC EXAMINATION: The inmate- reports his current developments
and progress as. having received no 115’s working as a porter.. He has
vocational skills 'as a coach. He does not attend. any self-help
groups.. He has a Bachelor’s degree in physical education and he was
_a real: estate agent. He indicates ‘the _ crime occurred because he
“panicked.

MENTAL ‘STATUS EXAMINATION: . The inmate is a well . developed, well

nourished, muscular. individual who appears his stated age. He was

' neatly, dressed and well groomed. He was relaxed and cooperative.
His ‘speech was of normal intensity, rate and inflection and he. was:
‘spontaneous. § His affect’. was normal and thought. content was.
_appropriate to affect. His. flow of thought was normal. He denies
depressive ideation or suicidal ideation. He has normal associations
‘ of thought. He is oriented as to time, place and person. His memory
is intact... His intellectual functioning appears to be normal.
Attention and. concentration . were good. He has some insight. but
impaired judgement. ~ He continues to-.be somewhat vague about the
causative factors of his crime, has little. self-understanding which
calls into question his motivation. for change and the sincerity of
his rehabilitation. © Lo.

- DIAGNOSIS: (DSM IIIR) Axis I. (322. 39) Impulse tontaoi disorder

NOS ©
Axis II (V71. 01). Adult antisocial behavior.
Axis , III . | None known. — .
Axis IV. ' 2, mild
Axis V_. - "A GAF of 90 and a GAF of 90

/ over the. past year.

- PSYCHIATRIC CONCLUSIONS: The diagnosed psychopathology is directly
related to the criminal behavior. The offense was largely a function

of the psychopathological | state. During observation in the
institution the inmate has psychiatrically shown no significant
change. In. a less controlled setting such as return to the

community, the inmate is ‘considered likely to remain the same.

(continued) Oe Do anny TD INMATE - oe
AE Ad a
VIA CO-1_9a- 23 :

MACKEY, Je. _ E76532 MCSP " 08-11-93  CVM/bf

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PSYCHIAT O RAAMTRATTON FOW GOBRM OF SPRIBON| FEH7 Page 14 of 46

SUGGESTED ACTIONS: oo sos oO
It’s recommended at some point that he attend Category X program: to
help him clarify the causative factors of his crime. Its recommended
‘he be continued in the present rehabilitation: program as continued
benefit is likely. Its recommended he be- placed in a vocational
setting where his vocational skills can be used. If hé is to’ be .
considered for parole or release, his violence potential outside a
controlled setting in the past is considered to have been about the
same as the average inmate and is currently less. Any conditions for
parole should include close supervision and attendance at the parole
outpatient clinic. — | Oo a

Ay fev Wertn mp Epp /
CLYDE AV. “MARTIN, M/D., FAPA. ™ .°. Wh
| Stasf/ poychiatrist me AY

: lames ffpblanianmp cro fe

CVM/bf

orig: C-File|
cc: Med. File
ae “

Dr. Martin ||

“MACKEY, 3. : E7 6532 MCSP ' "98-11-93 CVM/bE
Case 2:07-cv-00347-ALA Document1-5 Filed 01/13/07. Page 15 of 46

EXHIBIT H

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LIFE PRISONER EVALUATION -
INITIAL PAROLE CONSIDERATION HEARING.
DECEMBER 2004 CALENDAR. — .

_ MACKEY, JAMES OLIVER ——_E-76532
COMMITMENT FACTORS:

A. LIFE CRIME:

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Inmate Mackey was received into the California Department of Corrections on 11-
20-90, from San Joaquin County (case #45624) subsequent to a conviction for PC
187 Murder in the First degree. He is serving a sentence of 25 years to life with a
minimum eligible parole date (MEPD) of 01-29-06. A crossbow was used in the

commission of this crime. Victim: Lawrence Carnegie, age Unknown. Source: -

Probation Officers Report.

1 Suman Crime:

~.On- 02-28-89 deputies from the San Joaquin Sheriff's Department were
-’ dispatched to a residence on Tokay Colony Road in Lodi, California, due to a

mo report of two men assaulting another man at that location. As deputies —

arrived at the crime scene they found a bloody sleeping bag, a bloody bolt

'.- from a crossbow, arid a vehicle belonging to the victin Lawrence Carnegie.:

_ The reporting witness Denise Brock told deputies that as she approached the

residence she saw the victim lying on the ground. One suspect (later ’

. identified as’ the defendant James Mackey)’ was standing over him, and
- another suspect: (later identified as.the co-defendant Carl Hancock) was

quickly approaching her vehicle, which she and her small children occupied. .

Ms. Brock became fearful of the situation and quickly drove to a hear by
residence, where she. called 911. The next afternoon Mr. Carnegie’s body

“was found in rural area along Highway 128: in Sonoma County. He had been ~

shot in the back with the bolt from a crossbow. . The cause of death | however _
was from strangulation. After a lengthy investigation arental-car f matching

‘the description Of thé” Vehicle seen at the crime scene was: located in-

Southern California. It was later determined that this vehicle was in fact
rented to the Defendant James Mackey on the date the crime was
committed. Further investigation revealed traces of dried blood matching
‘that.of the victim Lawrence Carnegie i in the vehicle.

Offense Summary

' 2. Prisoner's Version: Forgive me if this is a bit lengthy, but to understand how this
terrible crime evolved | must start at the beginning of its development.
Hopefully this helps. | met Michael Blatt during the Spring of 1986 while

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_ Case 2:07-cv-00347-ALA Document1-5 Filed 01/13/07 Page 17 of 46.

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-attending the University of the Pacific on a football scholarship. .| had been ©
successful on the football field the season before, and | believe that was
when Baitt first.noticed me. | had seen Mr. Blatt many times.on our sideline
during games, but had never met the man. I knew that he was a rich
developer who gave money. to the program and that he was generous to
some of the more successful players. Blatt had also gone into business as a
professional sports agent with the man who had recruited me out of high
school, and was one of my former coaches at UOP, Frank Bauer: Frank and
| were very close during my career at UOP and it was he who first
encouraged my becoming friends with Michael Blatt. As my star continued to

rise as a ball player, Blatt began to take more interest in me until we were © ~

lunching. together and | was visiting him at his home. Many people warned.

me to be careful of Blatt, that he was a user, but Blatt had never asked

anything of me but my friendship, so | chalked those negative opinions as

jealousy and continued to spend as much time as | could with my new

“mentor. During my senior year, Blatt encouraged me to do my best and
. assured me that | had an NFL career ahead of me. | agreed with him, of
course, thinking myself invincible, until the ligaments in my right knee were.
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then, so it did not seem weird to me that we began discussing murder and
the disposal of bodies. A few months later | was in Blaitt’s office listening to
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-him give me advice about how to handle my marriage and my new girlfriend

- when | brought up the condo again. The rent was very expensive and was
_ draining my wife and I dry. Once. again Blatt was very sympathetic but said
‘he could do nothing because of Carnegie. | had seen Carnegie earlier in the
day selling the condominium he owned next door to mine and said hello, so |
was even more discouraged. When Blatt said, “ He doesn’t want the
condominiums sold to insiders, friends of mine.” | became even more upset
and finally said the words Blatt had been waiting for, “Do you want me to see

if | can find someone to take care of him?” .| also wanted Blatt to believe that

| was dependable, someone who got things done, but-! was to naive to
recognize the smile of satisfaction on his face, but | see it clearly now. |
asked two friends if they knew of anyone who could “take care of someone; “

- .and received a yes from a friend and former teammate, Carl Hancock. | went
to see Blatt a few days later and asked him how much he was willing to pay.

“ Whatever it takes” was his reply. I told Carl that he would be paid 15k for
_what he would do, and that I did not want to know any of the details. | did.

- ‘suggest that whoever did this should call Carnegie, who was also a real
estate agent, and make an appointment to see a property out in the country
where there wouldn’t be witnesses. A few months went by and Blatt was
becoming anxious for news about. Carnegie, and in an attempt to impress
Blatt, | decided that | would become personally involved. By then | knew that
Hancock had been in. touch with Larry Carnegie himself and that he was to
-b@ in on the deed. | told Blatt that | was to meet with the person who would
commit the crime in Phoenix on February 26, 1989, and that | needed to take
_ him a down payment of at least $3,000.00. What | really had in mind was to ~
. .meet my girlfriend, who was visiting her brother, and seeing my best friend,
Scott Brooks, play basketball. Scott played for the 76ers at the time, and |
had not seen him ply professionally. Blatt gave me the money and:I made
the trip. When | returned to Stockton, | had made up my mind to.go along

- with Carl the next day to:make sure everything went smoothly. | went to
_Blatt’s house that night and told him that | needed more money to buy

‘ supplies as | had been instructed in Phoenix. | gave $2,000 to Hancock and
_ we drove to Modesto where we bought a crossbow and a sleeping bag at Big
. 5, -That-night we drove to Lake Tahoe’ to establish an alibi. The next
- “evening, we purchased rope at a hardware store and Hancock phoned
_. Carnegie and asked him to.meet us at a property east of Lodi, where we ©
"waited. -Carl and | were dressed in jeans and tee shirts and it was very cold
“that night: .Carl had met and spoken with Carnegie, so it was decided that! .
would waitin a dilapidated garage until Carl led Carnegie inside.were | would
fire the crossbow. Carnegie was late, and it became dark and colder in the
garage. .After.a half hour of shaking and trying to talk myself out of what |
was doing | began to think about Blatt, and remernbered all those things
people had said about him, but instead of helping me to make the decision to
leave, it scared me. | do not know if | was out of it because of the cold or just
because of the situation | was in, but when I thought things out, they became
clearer to me, if | didn’t do this, Blatt would get someone else to do it. He
would know that | knew who did it and would not be too happy about that and
would not want me hanging around as a loose end. Sheriff detectives later
informed me that | was probably right, but the.decision | made was not only

poor, but cowardly. When Mr. Carnegie arrived at the property, Carl allowed
himself to be shown around the property, but when he tried to get Carnegie
to how him the inside of the garage, Carnegie balked. | was glad that | at
least had an excuse when Blatt found out that Carnegie was alive the next
day, but Carl maneuvered Carnegie into position in front of the door. |
Case 2:07-cv-00347-ALA Document 1-5. Fileds1/13/07 Page 19 of 46

wanted so badly for him to move, but Carl somehow kept him there. To

many thoughts were going through my head at the time for me to say what |

was thinking. All| can recall is that | was terrified. | raised the crossbow and .
aimed it at the opening in the door. It was very dark by then and | could only
see Carnegie’s shadow (Carl was much bigger).: | aimed at the shadow,
closed my. eyes, fired, and quickly knelt back down behind a large piece of

_ sheet rock where | had been hiding. | heard Carnegie gasp, and he and Carl
' moved away from the garage. Carnegie yelled, “Don't shoot! Don’t shoot!”
and | heard Carl whispering, something to him. A few minutes later, Carl
entered the garage and said that he needed help with Carnegie. We went
over to where Mr. Carnegie lay on the ground. When we reached him | told
Carl to go back to the car we had rented to get the sleeping bag while |
raised Carnegie, who was conscious, to a:sitting position with my arm around
his shoulders. | decided then to get into the car and drive away, Carnegie
had not seen my face and could not identify me in the dark. | was not
worried about Carl, he would just have to leave town. Just as these thoughts
were passing through my: mind, a car pulled into the property driveway,

shining its lights onto the entire sad situation. | kept my face turned away |

. from the light, sure now that | would make a run for it as soon as that car left.
Meanwhile, Carl was caught fully in the headlights and panicked, running
toward the car waving his arms... | have no idea what he was doing, but the
people in the car were not sticking around to find out and neither was |. . Just
as the car turned toward the road, its lights hit my back again, and when |
turned away | saw Larry Carnegie looking at me. _| saw the look of
' recognition in his eyes but was sure when he said, “You're fucked.” It was
my turn to panic then. | punched Carnegie and kicked him until he was
unconscious and yelled to Carl to bring the sleeping bag. We put Carnegie
in the sleeping bag and placed him in the trunk of.the car. Our original plan
was to take Mr..Carnegie’s body to Tahoe and drop him into the lake but |
was afraid.to do anything | had been planning to do, so we drove west
toward Napa. After driving this way for a while | recognized were we were.
My brother-in-law had been to a private school in a town called Booneville in
“the Mendocino Mountains. | thought that we could leave Mr. Carnegie’s
body there and he would not be found for a while. Wheén we arrived in the

_ mountains near the school, | pulled off the road behind a hill where we would .

not be seen. Carl got out and | popped the trunk Carl came back and told

‘me that Carnegie was still-alive. | told him that'| had already done.a lot more.

"little while Carl got back in the caré and said it was done. We did not want to
| leave the body so the school so we drove back to a turnout on a hill and took
Mr. Carnegie out of the trunk and rolled him down a hill. We then drove
. toward the Bay area and cropped the crossbow and remaining arrows off'a
bridge. | felt so sick and afraid that the next evening | called Blatt and told
. him that 1 needed money to leave the country. The next morning | met Blatt
at his home where he gave me an envelope which contained $3,000. |
picked up my girlfriend and we drove to Los Angeles and took a plane to
Mexico the next day. We stayed only two days, | was too sick to eat, and we —
returned to L.A. A few days after returning to Stockton, | broke up with my
girlfriend and returned to my wife, who was pregnant. My plan was to buy
the condominium from Blatt and have nothing else to do with him. My wife
‘and | had actually made an offer on a home in Sacramento when | was
‘approached by Sheriff's detectives. One of the detectives who was working
on the Carnegie case had actually purchased my home a few months before,
so we had gotten to know each other. He invited me to my former home to

fl than | was supposed to and that he would have to finish it himself. ’ After a
Case 2:07-cv-00347-ALA . Document 1-5. Filed 01/13/07 . Page 20 of 46

discuss real estate, but 1 knew what the conversation would be about.
Before going to the house, | asked my cousin, Jonathan Holmes, to drive by
the place to make sure there were no police cars in the. vicinity. When |
arrived at the house | was met at the door not only by Gary Coffey, whom |
had sold the house to, but also. Detective Petter Rosenquist. They
immediately informed me that | was in big trouble. When.! asked why, Coffey
stated that Carnegie’s blood had been found in the trunk of the car | had
rented. | denied that | knew anything about it. After about thirty minutes of
questioning, the officers decided to take me downtown where they
photographed me and took my fingerprints.. They then put me into a holding
cell for approximately 3 hours. | asked to be allowed to call an attorney and
‘was fold that I could not. After this | thought that | could say anything and it
wouldn't be able to use it against me, so | asked to speak with a friend who
was an assistant D.A, George Dunlap. | told George that | had only rented
the car at Mr. Blatt’s request but knew nothing about who had driven it. He
urged me fo tell the truth and cooperate and | agreed. The Assistant DA who
- was handing the case is named Fual Blansett. I met with Mr. Blanseétt arid
_ the detectives and’ agreed to wear a wire into Blatt’s office an initiate a
conversation about the murder. They said they would contact me within a
.. few days to give me details. When the detectives called me a few days later,
| was afraid, but | knew that | had to. go. The deputies put a microphone
behind my tie and a small device in an inside pocket of my jacket. When |
walked into Blatt’s office he was on the phone. .When he turned to me | -
immediately mouthed the words, “I’m wired.” He continued to talk on the
phone-while he took out a legal pad and'wrote, “Are you wired?” | nodded. —
As he hung up the phone he wrote, "what do you want me to say?”. |
shrugged and began to act like | was afraid the cops were onto me and.
-asked Blatt questions about the murder as | was instructed by the officers.
Blatt played dumb the whole time and said | should cooperate with law
- enforcement. | did not want to’say anything because | did not-want Blatt to
~ mention everything he knew of my own involvement. When I returned to the
detectives they said that we.would try again on another.day.. That day | went
to see an attorney | had worked with before and partially informed him of my.
- involvement in the crime and.my need for representation. On June 1, 1989,
as | was. driving home | noticed a squad car near my home and knew that
‘something was wrong. | needed to think, so | drove out near the river. My
. ‘passport was in the.car and there was about. $10,000 in the bank that | could
> take, but | decided I could not leave my wife, and did not want to spend the | .
-” rest of my life running. | called my wife and my mother and told them not to
~ worry, but | was in trouble. | didn’t explain, but | assured them | would be
.,okay: I-then drove to my attorney’s home where | decided the best thing to -
do would be to turn myself in. My attorney accompanied me ‘downtown to
the Sheriff's office to inquire about a warrant for my arrest. The desk
Sergeant told us that there was not one, but as we were walking out,
Detective Rosenquist waked up behind us and informed me that he was .
- coming to pick me up and | was arrested. After nearly a month in the San
Joaquin County Jail trying to make a deal, in exchange for my testifying
against Blatt at trial | would receive a reduced sentence, | learned from my
attorney that Carl Hancock had been arrested and had placed me at the
crime scene. | then made a deal with District Attorney John Phillips. In
exchanged for my testimony he would write a letter to the Board of Prison —
- Terms. There were actually two trials. Both ended in hung juries, and the
D.A.’s office did not feel they could win a third, so Blatt was released and has
n free ever since. Prior to the first trial | was informed by law

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Case 2:07-cv-00347-ALA. . . Document 1-5. Filed 01/13/07 Page 21 of 46

- enforcement that Blatt had solicited my murder. ‘elt at the time that | should
try to reach out.to Mr. Carnegie to express my remorse and try to explain
~ how this horrible crime had happened. | was informed by A.D.A Blansett that
he-would deliver a letter to Mr. Carnegie’s father, so | did write the letter, as
inadequate as it seemed, and sent it to Blansett.

3. Agaravatina/Mitigating Circumstances:
a) Aggravating Factors:

During the commission of the crime the prisoner had a clear opportunity to
cease. but instead continued.

The prisoner went to great lengths to hide the body or to avoid detection.

The prisoner intentionally killed the victim by lying ir in wait. .

b) Mitigating Factors:
The prisoner has a minimal or no history of criminal behavior.

AL PRECONVICTION FACTORS:

JUVENILE RECORD: NONE.
ADULT CONVICTIONS AND ARRESTS NONE.

PERSONAL FACTORS: Subjects parents separated when he was an infant,
and he has not maintained a relationship with his biological father for several
-years. Subject has.six siblings, four brothers and two sisters. Three of his
older brothers have also served time in prison. Mackey has one son from a
relationship that ended in divorce on February 13, 1989 Mackey has since
remarried. Despite Mackeys less than ideal upbringing he was able to
graduate from East Union High School, and go on to obtain a Bachelor of Arts
Degree in Sports Medicine from the University of the Pacific. After graduating
Mackey acquired his real estate license, and was working as a real estate
agent at the time of his arrest. Mackey has no significant history of drug or
alcohol abuse.
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Case 2:07-cv-00347-ALA Document 1-5 Filed 01/13/07 Page 22 of 46
II. POSTCONVICTION FACTORS:

A.

SPECIAL PROGRAMMING/ACCOMODATIONS: Mackey did not have any
disabilities that prevented him from participating in any programs.

. CUSTODY. HISTORY: Subjects custody was established at MAX-A from 11 _

29-90 until 02-26-91 as a safety precaution due to the media attention
surrounding his case. A review of the current post conviction progress report,
revealed no other unusual circumstance that required clarification. Subject is

currently enrolled in Vocational Refrigeration and Air Conditioning. .

THERAPY AND SELF-HELP ACTIVITIES: A review of thé current post
conviction progress report revealed no unusual circumstance. that required
clarification. Subject has received the following Certificates of Completion A
Framework for Recovery 03-14-95, Laubach Literacy Action’ Volunteer Tutor
Workshop 12-01-93, Crossroad. Bible Institute 08-06-98, Communication Styles
and Skills 01-08-99, and House of Healing Anger Management 04-25-01.

OTHER: At his:last BPT Documentation hearing, the board recommended that -
he continue his Self-help Therapy, and Learn a Vocational Trade. Subject has
followed these recommendations.

IV. FUTURE PLANS:

Mackey’s is a College Graduate and is certified in Air Condoning and Refrigeration
work. He also has completed.a paralegal course while incarcerated. Mackey
_ does not foresee any problems with his residence or finding and maintaining a job.

A. RESIDENCE:
~ Janet Waither-Mackey a +" Rebecca A. Williams —
613 Lupton Street - = .. -- ° 587 Victory Avenue
‘Manteca, CA. 95337 ° _'. ‘Manteca, CA. 95336 .
Hm 209-825-5814, ~ 209-823-7043
Cell 209-479-8594
B. EMPLOYMENT:
Kevin Haslebacher Armando Gomez
Plant Manager Plant Supervisor
Cottage Bakery 209-613-1593

209-365-5446
Sel ~ ?

Case 2:07-cv- 00347: ALA Document 1-5 . Filed 01/13/07 Page 23 of 46.
Cz ASSESSMENT: I do not foresee any problems with Subjects plans for parole.

~ Subject has provided documentation to support his residence, and employment: "

plans as well as several letters of support from friends and family members.

_V. USINS STATUS:
Not Applicable. .
Vi. SUMMARY:

A. Prior to release, the prisoner could benefit from the following:

1. Continued disciplinary free behavior.
2. Upgrading academically/vocationally.
3. . Continue in self help/therapy programs.

C. This report is based on a several short interviews with the prisoner, incidental
hours. on the facility, and a review of his central file lasting approximately four
ours

D. Prisoner was afforded an opportunity to review his central file in ‘order to
‘prepare for his appearance before the Board of Prison Terms and chose to
review his file (see CDC 1 28B dated 10-01-04).

~ E.-No accommodation for the purposes of effective communication i is required per
_ the Armstong Remedial Plan (ARP).

Prepared by: a . Reviewed by:
A Christian ot oe ‘ (line .
Correctional Counselor | (A) Correctional Counselor Il

. Facility B Facility B
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LIFE PRISONER: POSTCON\, JON PROGRESS REPORT a
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[X] PAROLE CONSIDERATION HEARING

[_] PROGRESS HEARING

INSTRUCTIONS
TO CDC STAFF: DOCUMENT EACH 12-MONTH PERIOD FROM THE DATE THE LIFE TERM STARTS TO PRESENT
TO BPT STAFF: FOR EACH 12-MONTH INCREMENT APPLY THE GUIDELINES UNDER WHICH THE PAROLE DATE WAS ORIGINALLY
ESTABLISHED, i.e., 0-2 MONTHS FOR PBR AND 0-4 MONTHS FOR BPT. SEE BPT §§2290 - 2292, 2410 AND 2439,

POSTCONVICTION CREDIT REASONS
YEAR BPT PBR
ADDENDUM
po 04 PLACEMENT: MCSP CUSTODY: MEDA. VOCATIONAL TRAINING:
04/31/05 Mackey remained in his Vocational Air Conditioning and Refrigeration
assignment until October 8, 2004 when he was unassigned due to completing

the program. He completed with all Satisfactory marks on his CDC 128E
progress reports. ACADEMICS: None -noted during this review period.
WORK RECORD: Mackey was assigned a Program Aide for the Enhanced
Outpatient Program on facility “B” on 10/16/04, GROUP ACTIVITIES: Mackey
received three laudatory chronos during this review period. He attended 13
weeks of a study group entitied “Breaking the Cycle’, chrono dated 12/1/04.
He. completed a 40 week course entitled “The Purpose Driven Life”, chrono
dated 11/15/04. -He Successfully completed the “40 days of Purpose” Bible
Study, chrono dated 9/30/04. PSYCHIATRIC TREATMENT: Mackey was not
a participant in the Mental Health Deliver System during this review period.
PRISON BEHAVIOR: Mackey did not receive any disciplinary reports during
this review period. OTHER: Mackey was voluntarily transferred to facility “C”
on January 19, 2005, during Mule Creek's conversion of facility “C" to a level

NI SNY.
CORRECTIONAL COUNSELOR SIGNATURE DATE
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NAME CDCNUMBER._ INSTITUTION CALENDAR HEARING DATE
MACKEY, JAMES E-76532 MCSP 12/2004 SUB
PAGE 1 of 4

BPT 1004 (REV. 7/86}
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’ BOARD OF PRGOISTERNGT- -CV- 00347- ALA Document 1-5. Filed: 01/13/07: . Page 25 Of AGATE OF CALIFORNIA
CONTINUATION SHEET: LIFE PRISONER: POSTCONVICTION PROGRESS REPORT ,

. POSTCONVICTION CREDIT oe REASONS -
~__YEAR 8PT___|__ PBR |
_ 08-31-03 PLACEMENT: Subject remained at MCSP during this review]
to 0 period, CUSTODY: Subjects custody remained MED A duririg
09-01-04 a this review period. VOCATIONAL TRAINING: Subject was

enrolled in Vocational Refrigeration and Air Conditioning on 03-
11-04, and is currently assigned to that t Position. Subject has

RECORD: Subject worked as a clerk during this review period
and received exceptional work performance evaluations. GROUP
ACTIVITIES: Subject participated in “Supernatural Ministries”
from 08-06-03 to 11-26-03, “Breaking the Cycle” from 12-03-03 to
07-28-04. PSYCHIATRIC TREATMENT: None during this
review period. PRISON BEHAVIOR: Subject received no
disciplinary during this review period. OTHER: Subject received
a 128 B Informational Chrono on 01-22-04 from N. Andrews,

work with. the EOP program.
ORDER: a , te
O BPT date advanced by Months .. Cl BPT was affirmed without change ~
oO PBR date advanced by os Months. . CE] PBR was affirmed without change

SPECIAL CONDITIONS OF PAROLE:
CI Previously imposed conditions. affirmed

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| Schedule for Progress Hearing on appropriate institution calendar.
NAME CDC NUMBER - INSTITUTION CALENDAR HEARING DATE

PAGE 3 of 3

MACKEY, JAMES E-76532_ _ MCSP 12-2004 INITIAL
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CONTINUATION SHEET: LIFE PRISONER: POSTCONVICTION PROGRESS REPORT

_ POSTCONVICTION CREDIT oo oe REASONS

YEAR, | BPT|PaR | ___ _
08-31-0) | - PLACEMENT: » Subject remained at MCSP ‘during this review
to | | period. CUSTODY: Subjects custody remained MED A during

09-01-02 fe this review period. VOCATIONAL TRAINING: None during this

- . |review period. ACADEMICS: - None during this review period.
WORK RECORD: Subject worked as a clerk, and as an EOP Aid
during this review period. He received exceptional work
performance evaluations ‘in both assignments. © GROUP| -
ACTIVITIES: Subject participated in’ the "Stay Out of Prison’
. |(STOP) program during ‘this review’ period. ‘PSYCHIATRIC
TREATMENT: None during this review. period. PRISON
BEHAVIOR: Subject received no disciplinary during this review
period. OTHER: Subject received a 128°B Informational Chrono
‘Jon 07-12-02 from E. Hobbs, Correctional Officer, commending
Mackey for his actions in possibly helping ‘save the life of another

inmate.
- PLACEMENT: Subject remained at MCSP during this review]:
08-31-02 | . | {period. .CUSTODY: Subjects custody remained MED A during
fo et. . [this review period. VOCATIONAL TRAINING: None: during ‘this
09-01-03 a . review period. ACADEMICS::~ None during this review period.

WORK RECORD: ' Subject worked. as a clerk during this review]
{period and received exceptional work. performance evaluations. | -
GROUP ACTIVITIES: Subject participated in “Taking the Limits
Off . Life’ from 05-13-03 to 07- 30-03... PSYCHIATRIC:
TREATMENT: None during this review period. PRISON
BEHAVIOR: Subject received:no disciplinary during this review
period. OTHER: None during this review period.

ORDER: -

CJ BPT date advanced by , Months ol BPT was affirmed without change
Cc] PBR date advanced by Months, CI PBR was affirmed without change

SPECIAL CONDITIONS OF PAROLE:
Previously imposed conditions affirmed

[aad or moaity

oO Schedule for Progress Hearing on appropriate institution calendar. .
NAME CDC NUMBER INSTITUTION CALENDAR HEARING DATE

PAGE 2 of 3

MACKEY, JAMES E-76532 MCSP - 12-2004 . INITIAL
BOARD OF PRISONTERMS p  * +" STATE OF CALIFORNIA
LIFE PRISONER: POSTCON™. _ ON PROGRESS REPORT - ee? a

TJ DOCUMENTATION NEARING - "ALA Document. 1- 5. Filed 01/13/07 Page 27 of 46
[x] PAROLE CONSIDERATION HEARING — ‘

[PROGRESS HEARING

INSTRUCTIONS
‘TO CDC STAFF: DOCUMENT: EACH 12-MONTH PERIOD FROM THE DATE THE LIFE TERM STARTS TO PRESENT

TO BPT STAFF: FOR EACH 12-MONTH INCREMENT APPLY THE GUIDELINES UNDER WHICH THE PAROLE DATE WAS ORIGINALLY
_ _ ESTABLISHED, l.e., 0-2 MONTHS FOR PBR AND 0-4 MONTHS. FOR BPT. SEE SPT §§2290 - 2292, 2410 AND 2439. _.

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POSTCONVICTION CREDIT - REASONS.
YEAR ——BPT___ |. PBR __ __. _
08-31-99 | .|PLACEMENT: _ . Subject remained at MCSP during this review
to- : _|period. CUSTODY: Subjects custody remained MED A during
09-01-00 | — this review period. VOCATIONAL TRAINING: None during this

review period.. ACADEMICS: None duririg this review period.
WORK RECORD: Subject worked as a clerk during this review
period and received exceptional work performance evaluations.
GROUP ACTIVITIES: None during this review period.
PSYCHIATRIC. TREATMENT: None during this review period.
PRISON BEHAVIOR: | Subject received no disciplinary during
this review period. OTHER: Subject received a 128 B
Informational .Chrono on 12-12-99 from L. Arbios, Medical:
Secretary, acknowledging his volunteer work in the Mental Heath

Program. .
os oo PLACEMENT: Subject <smeinad at MCSP during this review
08-31-00 period. CUSTODY: Subjects custody remained MED A during
to _ |this review period. VOCATIONAL TRAINING: None during this}
08-01-01 review period. ACADEMICS: None during this review period.

WORK RECORD: Subject worked as a clerk during this réview
period and received above average, and exceptional work
_ |performance evaluations. GROUP ACTIVITIES: Subject
| participated in Alcoholics anonymous from 07-01-00 to 12-31-00.
Subject also participated .in the “Stay Out of Prison’ (STOP)
. |program ‘during. this review: period. . © PSYCHIATRIC

TREATMENT: None during this review périod. PRISON
BEHAVIOR: Subject received no disciplinary during this review
-|period.. OTHER: Subject received a 128 B Informational Chrono
on 03-08-01 from R. Geyser, Recreational Therapist,
| acknowledging his exceptional work in’: ‘the Mental Heath

Program.
CORRECTIONAL COUNSELOR SIGNATURE , DATE
—— JO Opt SX
E CDC NUMBER INSTITUTION CALENDAR HEARING DATE
PAGE 1 of 3

MACKEY, JAMES E-76532_ MCSP 12-2004 INITIAL
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BOARD OF PRISON . age 2 8 of 4 4 gnreor CALIFORNIA
CONTINUATION SHEST. Hee oth SON Ak R: PO Set ebiltibn iin g
- POSTCONVICTION CREDIT os : RE ASONS
YEAR apr | PBR _ _ .
10/97 . oo | Inmate Mackey remains at MCSP on Facility B with Close B .
fo | custody, CS of 15. Inmate Mackey continues to be assigned as
0/98 yo, : [a -clerk, CDC 101 “Work. Supervisor’s Reports reflects

exceptional work, also excellent work habits and his
pérformance of job duties is appreciated by all staff. On 7-7-98
he appeared before UCC Facility B for his Program review.
Committee is in receipt of a CDC 128C dated 6-23-98 written
by Dr. G. Douglas medically unassigning Subject through 12-
31-98 pending neuralogic evaluation for headaches. Inmate
Mackey will retain A1/A status until exhaustion of ETO, then ©
will revert to A2/B status. On 8-18-98 he appeared before UCC
for a Program review Cormuhittee acts to rescind medical
unassignment dated 7-7-98 grant “S” time from 7-7-98 until re-
assigned due to. a CDC 128C dated 8-18-98. His CS was
reduced to 7. Inmate Mackey was disciplinary free this time
| period. He did participate in Gre f the Bible and
| graduated from the tier ore course on August 6, 1998. °

10-98 9 - |. Lo

. Inmate Mackey remains at MCsP on Facility B with Close B.’
resent . | custody, CS'of 7. On 1-27:99 he was seen by UCC for an

. Annual review. Inmate Mackey is currently assigned as a
program clerk and hé is receiving above average work reports.
Committee acts to reduced his custody to Med'A, Committee
adjusted his CS to 1; ‘UCC also elects to continue on present

program. Inmate Mackey continues to remain disciplinary free.
Inmate Mackey has participated i in Communication. ‘Styles. and
Skills and completed thé course Gn 1- 8-99, — ee

ef,
. Vr.
ORDER: wo
Cl BPT date advanced by months. “L] BPT date. affirmed without change.
["] PBR date advanced by months. J, Per date affirmed without change.

SPECIAL CONDITIONS OF PAROLE:

oO Previously imposed conditions affirmed.

[_] Add or modify

C] Schedule for Progress Hearing on appropriate institutional calendar.
NAME ‘CDC NUMBER : INSTITUTION © : CALENDAR HEARING DATE

MACKEY, JAMES _ E-76532 ~" MCSP DOC 10/99

of PERMANENT ADDEN

BPT 1004 (REV. 7/86} . PAGE

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BOARD OF PRISUN TERNS ~~ ee Cy. gE OF CALIFORNIA.
LIFE PRISONER: POST :

[LJ DOCUMENTATION HEARING

[1 PAROLE CONSIDERATION HEARING
[J _PaOGRESS HEARING

INSTRUCTIONS . . , uo
"TO CDC STAFF: DOCUMENT EACH. 12-MONTH PERIOD FROM THE DATE THE LiFE TERM STARTS TO PRESENT.
TO BPT STAFF: FOR EACH 12-MONTH INCREMENT APPLY THE GUIDELINES UNDER WHICH THE PAROLE DATE WAS ORIGINALLY
ESTABLISHED, i.e., 0-2 MONTHS FOR PBR AND O- 4 MONTHS FOR BPT. SEE BPT $52280- 2292, 2410 AND 2439. ©

POSTCONVICTION CREDIT So , REASONS
YEAR  BPT PBR _

Inmate Mackey is a 35 year old, Black, Ist termer received CDC
11-20-90 from San | Joaquin County for Murder lst with a
sentence of 25 year to life. He has no Prior arrest with no gang
. affiliations.

This report is the third BPT ‘Documentation Hearing for Inmate
Mackey, E-76532 and will cover his behavior and progress from
10-26-96 until the present tine Ttis noted that his MEPD is 1-
29-2006.

10/96. - "| Inmate: Mackey remains at MCSP, Facility B with Close B

tg - - custody with a CS of 23. On 12-25-96 he received a CDC 115 -

10/97 . for Horseplay and reclassified as an Administrative. On 2-11-97

. he appeared before UCC for his Annual review. He is currently

_ assigned to Facility B, Captain's Clerk and his CS was reduced
by 8 points making his cs 15, Committee acts to refer his case
to the CSR with recomméndati ons MCSP-II override alternate
SCC-III. Inmate’s request is based on family ties, complete
Master’s Thesis and work based on him being a vital asset to the _
Program Services Unit as a clerk. Inmate Mackey has not
participated in atiy self help programs during this time period.

TORRECTIQNAL COUNSELOR SIGNATURE ™ DATE
‘LD . fn a ce 3, oF

NAME , CDC NUMBER * INSTITUTION CALENDAR “HEARING DATE

MACKEY, JAMES E-76532 -— MCSP DOC 10/99

BPT 1004 (REV. 7/86) . : PAGE 1 of

BOARD ORION toaMs 2 3. Lo " BTATE OF CALIFORNIA

. LIFE PRISONEASROSTCONsAGTION eBOAAESS REROBT 0111/5 Page. 30 of 460

TL] DOCUMENTATION HEARING.
“Eo PAROLE CONSIDERATION HEARING So a
wT PROGRESS HEARING _
“INSTRUCTIONS | : : :
TO CDC STAFF: DOCUMENT EACH 12-MONTH PERIOD FROM THE DATE THE LIFE TERM STARTS TO PRESENT.

TOBPT STAFF: FOR EACH 12- MONTH INCREMENT APPLY THE GUIDELINES UNDER WHICH THE PAROLE DATE WAS ORIGINALLY
ESTABLISHED, l.e., 0-2 MONTHS FOR PBR AND 0-4 MONTHS FOR BPT. SEE BPT §§2290-- 2282, 2410 AND. 2439.

POSTCONVICTION CREDIT =
YEAR BPT PBR oo REASONS:

Inmate Mackey . is a 31 year old, black, ‘1st
termer received CDC 11-20-90 from San Joaquin

' - | county for Murder ist with a sentence of 25
years to Life. He has no prior arrest
history. The CDC 812 reflects enemy concerns

with no gang affiliations.

This report is the second BPT Documentation
‘Hearing . for Inmate Mackey, _E-76532 and will
cover his behavior and. progress from 10-14-93
until the present time. It is noted that his

MEPD is 1-29-2006.

“copy 10 IN
WA CC-1 56

CORRECT it cou! : . ‘| DATE °
ae a |
NAME / - CDC NUMBER INSTITUTION CALENDAR . : HEARING G .

“MACKEY, JAMES E~76532 MCSP OCT/96

PAGE 1 of

BPT 1004 (REV. 7/88)
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GONTINUATION | SHEET: LIFE PRISONER: POSTCONVICTION PRUGRESS REPORT

‘POSTCONVICTIONGREDIT | oo SEASONS
yEAR.| . BPT | PBR _, S.
10-14-95] © Oe oe a a
to f°. | Inmate’ Mackey appeared before UCC on 278-96
present oe . for Annual review. His CS was adjusted. to 23,

making him eligible -for Level II review. He} -
was received exceptional grade from his work
‘supervisor. - Additionally “he received |.
certificate for successfully completing |
|"Framework for Recovery".and is participating

in the” Wasters Program in health, PE, and
sports therapy and medicine via correspondence:|
from. LaSalle . University, - ‘Mandenville,;
. Louisiana. He has also participated actively | —

in a voluntary class entitled Understanding +.
| xen" reading which is a 15 “session arse,
| Committee acted to. refer to CSR ‘RX: MCSP~III
override alternate. SOL-II, CPP.. -He - was
endorsed by CSR on 3-47-96 for SOL-II.. Qn 3-
‘14-96 he’ appeared before UCC for Program
‘review., He was re-referred back to CSR based.
‘on. him being a vital asset to the progran
service unit: as a ‘clerk. and his studies from
La Salle University. which. was still. in effect.
Committee acted to rescind action of 3-4-96,

‘refer to CSR RX: MCSP-III override per CSR for
MCSP-III override’ based on administrative
placement of work... He remains disciplinary
free with Close B custody.

ORDER: oe oY ,
—” [[] BPT date advanced by. _ monthe. [[]_ BPT date affirmed without change.
] PER date advanced by —— months. [L] PBR date affirmed without change.

SPECIAL CONDITIONS OF PAROLE:
[CL] Previously imposed conditions affirmed.
[7] Add or modify. —.

oO Schedule for. Progress Hearing on appropriate institutional calendar.
NAME. CDC NUMBER INSTITUTION *

“CALENDAR “HEARING DATE
MACKEY, JAMES E-76532 MCSP - OCT/96

. PAGE pa bak a PERMANENT ADDENDA

BPT 1004 (REV. 7/88)
‘ STATE OF CALIFORNIA
BOARD OF PRISON
acon Ra Live PRIS Sl ab rl AahinrF Page 32 of 46
POSTCONVICTION CREDIT oo "REASONS"
YEAR _bPT PBR

- 10-14-94
to ot .. . _. a

10-14-95] 1, a, Inmate Mackey appeared before UcC on 1~5=-95)

for Annual review. Based on two disciplinary
free periods and two- work performance periods,
his CS was adjusted to 31. .Committee elected
to CPP (Counselor’s Clerk). ‘He remained
_Gisciplinary free.: On 3-24-95 he appeared
before UCC for Program review. Due to Close BI
- custody, procedures per DOM Sectién 62010 dated
1/95, Committee acted to increased his custody
from Med A to Close B, CPR. .

‘ORDER; ue «

Cc BPT date advanced by an: months. | oO BPT date affirrned without change. | ,
o PBR date advanced by _ . months. , oO PBR date affirmed without change.

SPECIAL CONDITIONS OF PAROLE:
oO Previously imposed conditions affirmed. -
[] ‘Aad or modify

0 Schedule for Progress Hearing on appropriate institutional calendar. :
NAME oo CDC NUMBER . . INSTITUTION CALENDAR HEARING DATE

‘MACKEY, JAMES = —-E+76532 =! MSP * 0cry96

county - OS x NDA.
SPT 1004 (REV. 7/06) : PAGE 3 of _ PERMANENT ADDENDA
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STATE oF CALIFORNIA .

“ poano OF PRISENTIBNESE 3:07-cV-00847-ALA, Dog F
CONTINUATION SHEET: LIFE PRISONER: POSTCO hi rnCBRCCR EAB | Page 33 of 46”

——SOSTEONVIETION CREDIT REASONS _

YEAR __BPT___ pen | ——
5-1-93 ee .
to. ood | tnmate Mackey was reviewed in absentia on 8-
10-14-93 2 fo _ 25-93 by Facility ¢C UcC' for Program review.

At Inmate’s _ request he was: removed from
Acad/ABE waiting list based on TABE test with
a GPL of 12.9 plus. - On 9~2-93 he appeared
before Facility.B Ucc for initial review. He
was transferred from Facility C to Facility B
.| on a non-adverse per PA agreement based on
\ enemy concerns. regarding his commitment.
offense. He.was assigned to the Yard crew on]
9-14-93 with Close B custody and’CcS of 47. On
10-8-93 he appeared before UcC for Program
review. Committee acted to reduce custody’ to
Med A, , remove from Yard crew assignment and
placed én position assignment as Relief clerk.

10-14-93
to
10-14- -94

Inmate Mackey appeared before uce on * 10-28-93
_ |. for Post Board review. He appeared before BPT
-|. on 10-14-983 for Doc #1 hearing. The Board }
' recommended: he participate in self-help
therapy or group activities. He was placed on
10/96 calendar for Doc. #2 hearing. Committee.
elected to continue on ‘present program. (CPP).
On 1-6-94 he was reviewed in absentia per pre-
annual interview of 1-4-94. He received a
maximum reduction of 8 points reducing ' his cs
‘to 39. Committee acted to CPP.

ORDER: Co,
oOo BPT. date advanced by months. O BPT date affirmed without change.

ol PBR date edvanced by — Le MONths. 0 PBR date affirmed without change.
SPECIAL CONDITIONS: ‘OF PAROLE:

OD) Previously imposed conditions affirmed.

[J Acd or mealy

oO Schedule for Progress Hearing on appropriate institutional calendar.

NAME DC NUMBER “INSTITUTION. ——~—«CALENDAR ~~ HEARING DATE
MACKEY, JAMES E-76532 | MCSP — OCT/96
wFT-1004 EY. 7708) PAGE . of Xb PERMANENT ADDENDA ,

| BOARD. OF PRISON TERMS

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A

| STATE OF CALIFORNIA

POSTCONVICTION CREDIT _

“YEAR Tr  SPT.

| PBR.

R EASONS

11-2092 |
to
Present

On 12~9-92 , he appeared before Fol-ucc for |
Annual review which © ‘covered from 1-92. to 1-93.
He was assigned AD-SEG library clerk. His cs

‘ was reduced to 47 based on 2 disciplinary free |

periods and two work performance. periods.
Committee elected to refer to CSR, RX: MCSP-III
altn. CMFS-III based on Level III review. He
was endorsed - by CSR on 12-23-92 to MCSP-IIT. ,

on 1- 13-93, he appeared before MCSP-Fac C UCC
for Initial review. . He was released to’ GP at

Close B custedy AI/A status, PO Acad/ABE and

SS/WL, priority. hire, refer to Medical for food

. handling. | Hé was assigned Program Service’

Porter on 1-23-93. He is scheduled for a
Documentation #1- hearing on the October (1993 |
hearing calendar.

ORDER: .

oO - BPT date advanced by

months, CI BPT date affirmed without change. .

Cc) PBR date advanced by

months. _ Oo PBR date affirmed without change |

SPECIAL CONDITIONS OF PAROLE:

Cc) Previously imposed. conditions affirmed.

[_] Add or modify .

Cc) Schedule for Progress Hearing on appropriate institutional calendar.

NAME mc CDC NUMBER
E-76532

MACKEY, J: AMES

BPT 1004 (REV 7/86)

INSTITUTION CALENDAR HEARING DATE
’ MCSP a, OCTOBER/93 .

PAGE 3 of _3 . _ PERMANENT ADDENDA

BOARD OF . PRISON TERMS :

- “STATE OF CALIFORNIA

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fo POSTCONVICTION CREDIT

BPT

PBR

REASONS

YEAR .

11-20-91
to

11-20-92.

on 12-19-91, he appeared pefore - Fol-A ucc for

Initial © review. -He went out to court on
41-13-91 as a withess: testifying against a
co-defendant in a retrial in San Joaquin’ County
and is considered an enemy. He was released to.
A-GP. He was placed on special skills (clerk)
waiting list at A1/A status, Close A, effective
7-13-91. He was assigned AD-SEG asst. law)

clerk on 12+20- 91.

On 37-24-92, he appeared ‘before Fol-A ucc for
Initial/Annual review. He was received at
Folsom on 3-23-92 from OTC (Alameda Co.) as aj}.
result of testifying as a witness in the highly]
publicized murder trial against a co-defendant. |.
Committee acted to release to GP, PO special
skill WL at A1/A status, Close A custody with
CS of 55 based on 2 disciplinary free periods}.
and 1 work performance period. He was assigned

-to the Recycling crew effective 4-17-92.

ORDER:

. 0) BPT date advanced by
CO PBR date advanced by

months. O BPT date affirmed without change

months. v7 PBR date affirmed without change

SPECIAL CONDITIONS OF PAROLE:
[] Previously imposed conditions affirmed.

CT) Add or modify

Oo] Schedule for Progress Hearing on appropriate institutional calendar.

NAME

MACKEY, JAMES

BPT 1004 IREV 7/B8)

CDC NUMBER
E-76532

INSTITUTION CALENDAR HEARING DATE
MCSP » OCTOBER/ 93

PAGE 2 of _3 . PERMANENT ADDENDA

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DARD OF PRION TERS. cit A STATE OF CALIFORNIA
wate PRISONER: POSTCONVICTION PROGAESS REePoRiCI 01/13/07 | “Page 36 of 46 ™

Ti] DOCUMENTATION HEARING. a SO
[ED PAROLE CONSIDERATION HEARING
[] PROGRESS HEARING
INSTRUCTIONS .

TO CDC STAFF: DOCUMENT EACH 12-MONTH PERIOD FROM THE DATE THE LIFE TERM STARTS TO PRESENT.
TO BPT STAFF: FOR EACH 12-MONTH INCREMENT APPLY THE GUIDELINES UNDER WHICH THE. PAROLE DATE WAS ORIGINALLY
(oT. ESTABLISHED, ie., 0-2 MONTHS FOR PBR AND 0-4 MONTHS FOR BPT. SEE BPT §§2290 - 2292,-2410'AND 2439."

a csmttine

POSTCONVICTION CREDIT — REASONS

YEAR| 6PT | __-PBR

This is” inmate Mackey, +©E76532,— firstl -
Documentation Hearing. He is a 29 year. old,
Black, first termer, received CDC 11-20-90 from
-$an Joaquin County for. Murder 1st with aj.
sentence of 25 years to Life. |

11-20-90 On 11-29-90, Inmate Mackey appeared before} -
td | DVI-Icc for Initial AD-SEG review being placed .
11-20-91 | -| 4m AD-SEG due to testifying in San Joaquin
St po Lo ‘|; County on a murder trial’ that received wide
spread media: attention. There was -no central
file and Committee acted to ‘retain AD-SEG,
single cell for his safety and for the safety
and security of the institution.

On 12-20-90, he again appeared before DPVI-ICCc)

for 30 day AD-SEG review. He .was again
‘vetained in AD-SEG, single cell, cS 61, pending
CSR action and transfer. He was endorsed by
CSR on 1-23-91 to PBSP G/P. On 2-15-91, the
cease was redirected to FOL-IV, rescinding CSR
action’ of 1-23-91 due to population pressure.

On . 2-26-91, he ‘appeared before Fol-ucc for
Initial review. Committee acted to release to
GP and. PO SS/WL with Close A. custody at A2/B
status. . He was assigned to Recycling crew at
_A1/A status, Close A on 7-12-91.

5 in
Ce
oe CDC NUMBER "INSTITUTION "CALENDAR ~~ HEARING DATE
MACKEY, JAMES - E-76532 MCSP _OCTOBER/93

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BFT 1004 (REV. 7/86) . PAGE 1 of = YA CC-1 ala/a, Qe

Case 2:07-cv-00347-ALA Document1-5 Filed 01/13/07 Page 37 of 46

EXHIBIT I
* 4 CDCNUMBER: §£7§532 . y CDE 128-6

agin, ee (Mule Creek State Prision
MACKERESAMIBS-CV-00347-ALA. Document 1-5 — Filed 01/13/08 o7odouagno188 of 46

- ANNUAL TB CHRONO
DISTRIBUTION: . TB SKIN TESTING ~

CENTRAL FILE:
MEDICAL FILE: [i INMATE TBALERTCODE 22
‘INMATE:

Fgar hl AN

S. Zangrilli, RN

NAME and NUMBER Mackey, James E-76532 7-117 - ebe-1H8.8 ev. 4/7
This inmate attended 13weeks of a 1 hour study group BREAKING THE CYCLE Part 3, the ultimate

solution to destructive patterns from August 4, 2004 to November 24, 2004. The key ideas covered in

this Dr. James Richards book included the following:

1. Trapped by Opinions 6. Solution to Shame = 11. Heart Physics - 16. Righteous Reality
2. Is Jesus Enough ‘7. Blind leading Blind 12. Missing Ingredient 17. Resurrection Power
3. Overcome Shame 8. Completeness . 13. Quantum Physics 18. Spirit Living

‘A. Overcome Confusion 9. Voice Conscience 14. Radical Gospel 49. Set Your Heart

5. Feelings & Actions. 10. Good works Testify 15. Destructive Addiction 20. Abundant Life

He has been given tools to face life with a new confidence, having keys to personal empowerment. He
has learned to disconnect | from the feelings of lack and inadequacy, because of the righteousness
of Christ. He is to be commended for his time and effort in the group process.

LED. wee POP ge
Pastor Scott Barham, Protestant Chaplain

cc:, Inmate

NAME and NUMBER MaCKEY B-7-117L BE-76532 CDC-128-B Rev. 4/74

foaata MACKEY nas coaplated a 40 weex Course eatitlal “Tae Puryase
Driven bife", ‘aasweriag one of: life's ast daportaaet Questiaas:
Waat oa earta aa IL nere for? Tae aaswar is Kaowiag God's paryose
for ay life. Tae course was froa Fab. 4, 2004 to ‘Nov. 3, 2004. de
nas gtawa. bo ao loager allow his crise aad aisbenavior to ideatify
woo ae ia. da is growiag ia tae grace and xaowladge.of- nia uerd aad
Savior, Jesus Christ. de has 3hoaa coaaitmeat aad is walkiag ia
aawaassa of Life, regaltiag ia a naaltay aad saccasaful life taat
will priag noaor aad glory to Jeaas.

Pastor Scotc Baraaa

Protastaat Coaplaia
Co. 4CSPite) vriter, Lanate

GENERAL CHRONO

DATE AJovewper 15, 2004 fdaule Creax State or eoaa
NAME and NUMBER .. MACE Jo 9 W-765320 «BIRT. (24+, CDC-126-B Rev: 474,
on 16/26/NL AGE. 2: Rinew-OBS4ALA sdcussieulily-Scompliehed 1/-0e/041—daygyoBPurage, Bible. |
‘etudy. .The 49-days of Purpose -is hased on the hest selling ook, The Purpose-nriven Life.

. the program is a small group, hands on, in depth study of; Purpose # 1~You Were Planned
For God's Pleasure; Purpose # 2-Vou Were Tormed For God's. Family; Purpose # 3-vou Were
created To Become Like Christ; Purpose # 4-Vou Were Shaped For Serving God;. and Purpose
# 5-Vou Were Made For a Mission; Mr. Mackey's participation has heen very valuhle to the.
other men. He has grasped the 5-Purposes of his Life with cod, applied them to his life,.
and used them to encourage others. Mr. Mackey is a serious. well grounded man of God. His
insights, pleasant attitude and renewed mind demonstrate a positive change in his lifestyle,

that brings honor and glory to God. . 2 og
ORTGINAL: C-File . tht japelned

‘eo: \. Christian, CCT © . . SR. BaRHeM, CQQTRSTANT CHAPLAIN
Writer Mule Creek Stake Prison’ —
Tnmate |
DATE 99/30/04 (SFLF -ARLP-RELTIGUANS) ... Mesp-tone, GENERAL CHRONO —

rem nb ec aE Be kL a Nd EL ee an a me ne a nana’ ‘ Fone
" aoa A me ee a dR RP RSE RR RE SE

On 6-9-82 Mr.MACKEY, completed all high school requirements at,
EAST UNION HIGH SCHOOL, required for his High School Diploma.

_His official High School transcripts state that he is a High School
graduate. . ¢ .

Orig: Central File.

. ec: Education File ~ VY Ree dso

ccl . . oo ML. BERNARDO
Writer-2. oo :

Literacy Coord.
Inmate ,

High School Coordinator

MATES CBSE ERDAS) iniotmat

VX YN Y YX YY YY VV YY ER RY RYE EV YY YY VV VV VV VV

sue

NAME andNUMBER . MACKEY E-76532 © 7-117 CDC-128-8 (Rev. 4/7.
This inmate attended 15 weeks of a. 1hour study group BREAKING THE CYCLE Part.2, the ultimate
solution to destructive patterns from April 7, 2004 to July 28, 2004. The key ideas covered in this
book by Dr. James Richards included the following:

1. The Cycle 6. Deserving/Qualified 11. Dead Works _ 16. Power of Promise

2. Deceit of lack 7. Son or Slave "42. Grace & Truth ~ 17. Results Reveal Logic
3. Complete in Jesus 8. Motive for Service 13. Law Substitute 18. Doctrinal Test

4. Illogic of lack 9. The Turning Point 14, Radical Message 19. New Perspective

5. Wrong Questions 10. Right, in Jesus 15. Belief Cornerstone 20. Reshape Your Heart

He has grown to no longer allow his crime to identify who he is. He sees the necessity to step out of
the mold of his past, and to be renewed in his mind to the promises of the finished work of the cross
of Jesus Christ, resulting in a healthy and successful life. ,

t Chaplain

o

PaStor Scot

cc: Inmate Barham, Protestan

DATE August 1, 2004 (LAUDATORY / BREAKING THE CYCLE) MCSP/lone GENERAL CHRONO
)

’ STATE OF CALIFORNIA - : , DEPARTMENT OF CORRECTIONS
Case 2:07-cv-00347-ALA Document 1-5 Filed 01/13/07 Page 40 of 46

NAME and NUMBER Mackey . James " E76532

Inmate Mackey 676532 has successfully demonstrated and completed all criteria
pertaining to safe refrigerant handling and recovery, as mandated by EPA Section 608 of the
Clean Air Act of 1990. Inrnates test scores qualify him for the rating as Universal certified
technician.

Test Site: MCSP Voc. A/C R Program

Test Date: 24-Jun-04 : -
Test Administered byM, — . , , oo,
Sandoval Proctor Number : .

Onna OFile . M. Sandoval, Vocational
ce; CGC Instructor Voc.

Education .

Writer

Inmate.

NAMEand NUMBER MACKEY, JAMES — E-76532, 7-117 CDC-1268 Rav. 4/7,

This inmate attended 15weeks of a1 hour study group BREAKING ‘THE CYCLE Part 1, the ultimate
solution to destructive patterns from Dec. 3, 2003 to March 31, 2004. The key ideas covered in this
book by Dr. James Richards included the following: ,

4. The Defining Moment ——-—s Ss. Driven by Lack . 9. From First to Last

‘9. The Sense of Lack - 6. The Qualifying Factor ’ 40, Power of Righteousness
3. Naked and Vulnerable - 7, What We Were Told 11. Flawed Logic

4. Identity Recovered - - 8, The Heart of the Gospel

He has Jearned how to end his repeated struggles and break out of destructive cycles through his
revelation of being in right standing with God. As a result, this inmate is now walking. in greater peace ©

and happiness. He is no longer driven by what he hp fe. but; rejoicing in what he has because
Cot

of his relationship with Christ. Jb
: he. Meth OE Ps

cc: Inmate Pastor Scott Barham, Protestant Chaplain .
DATE ‘April 1, 2004 - (LAUDATORY / BREAKING THE CYCLE) MSCP/lone GENERAL CHRONO
NAME and NUMBER - MACKEY E-76532 B7-117L

CDC-128-B (Rev. 4/74
Inmate MACKEY, E-76532, 7-117L, who is assigned as an EOP Aide, is to be commended for
his assistance and extraordinary dedication to his assignment and to the inmate participants
in the EOP program. The personal attention Mr. Mackey gives to individual inmates is far .
greater than is expected from an EOP Aide and demonstrates his genuine desire to see this ©
program succeed. He accomplishes this by helping the inmates in the program improve their
quality of life through talking, listening and generally making himself available to these
men.’ He has the ability to gain the trust of inmates who are new to the program and are
going through times of. adjustment, which takes a great burden from staff, allowing us
greater freedom to do our jobs. ‘His hands-on approach is very effective and should be.
a model for other inmates in this position. SO

Original: C-File . ryt. hover

cc: CCI , N. ANDREWS
Writer Psychiatric Technician
Inmate Facility "B"

DATE 01/22/04 (LAUDATORY ) MCSP-TIONE GENERAL CHRONO

oa
Vk a aT ee wee me

He attended 17 weeks of the st group SUPERNATURAL MINISTRIES August 6, 2003 to
November 26, 2003. The key " ‘as"covered in the above book by P- wanes Richards included:
Case 2:07-cv-00347-ALA Document 1

4. Living Organism 8. Personal Growth. 1S sabilfigeo 13/ OF 2 BAGs(striy! GEvils
2, Unleashing Power 9, Creative nature 16. Take to Church 23. Healing sick

3, God's secret weapon 10. Showing Jesus 17. House to house =—s_- 24. Follow-up

4. Priorities - 44, Ministry calling 48. Spoken Word- - 25. Backslidden

5. Church history . | :42. Not ministering? 19. Reconciliation 26. New Believers
6. Living vision. 43, Sanctifying Jesus 20. Witnessing © - 27, Spiritual warfare
7, The investment. 14. Give an answer . 21. Spirit baptism 28, Plan of action

Every person has gifts, skills and abilities that can be easily unleased. The above man has learned to

share his changed life in a conversational manner. Bote for his growth.
cc: inmate . State ol / Sit .

Pastor Scott Barham, Protestant: Chaplain.

DATE 12/03/03 [LAUDATORY / SUPERNATURAL MINISTRIES]  MCSP/lone GENERALCHRONO -

NAME andNUMBER =. MACKEY F-70880 Tet?’ €DC.12848 Rev. 4/74
Inmate Mackey attended 12 weeks of a 1 hr. study group TAKING THE LIMITS OFF LIFE from May 14, .
2003 to July 30, 2003. The key ideas covered in the above book ‘by Dr. James B. Richards included:.

1. Taking limits. off 6, Circumstances 11. Commitment . 16, Operating bold faith
2. Lost in wilderness 7. Everything possible 12. See as God sees 17. No more limits | —
3. Negative thinking ’ 8. Help my unbelief’ 13. God is love 18. God's promises

4. Eye of faith ‘9. Remove obstacles 14. Self-worth . 19. Cast away unbelief
5. Self-Esteem 10. His word sufficient 15. Heart persuasion 20. Power for life.

Mr. Mackey has learned to not limit what God can do through his life by changing his perception of
God. He has learned the ways he limits himself, and how to stop doing so. He is to be commended
- for his willingness to grow mentally and spiritually in life. ‘ ,

lL, he WL pf lop

Pastor Scott Barham, Protestant Chaplain

ce: Inmate

DATE August 1, 2003 [LAUDATORY / TAKING THE LIMITS OFF LIFE] MCSP/lone GENERAL CHRONO

NAME and NUMBER MACKEY, JAMES . E-76532 B7-117L CDC-128-B (Rev. 74)

The above named inmate is authorized to receive and send books and study materials to and
from PROFESSIONAL CAREER DEVELOPMENT INSTITUTE, THE SCHOOL OF PARALEGAL STUDIES, so
that he may participate in the PARALEGAL STUDIES course, via correspondence. This work has been
authorized by the MCSP.Operational Procedure for Educational Services #MC3-53090. This approval is
not to be construed as approval for the possession of more than ten (10) books and/or other study
materials in this Inmate’s cell at any one time. A hardcover textbook will be allowed if softcover is not
available. Computer, video and online services are not available. Inmate will be solely responsible for all
financial costs. This chrono will be valid for one year, 7/23/03 - 7/23/04.

Wek tua a Ytsrerew

G. Gwarthoht, Associate — V, Federico, Supervisor of M. Moreno
Warden, Central Services Correctional Education Programs College Coordinator

Orig:€-File)ce: I/M Ed. File, Supervisor, Mailroom,
Package C/O, R&R, Proctor, College Coordinator, Inmate

nary Til 92% OND CORRESPONDENCE COTRSE MCSP-Tone GENERAL CHRONO
ou above named inme* - \ authorized to receive and send bt *s and study materials to and
from OHIO GASNERSYTYy-spb47-he may pastiginaleria_the BNG, TIVES WRI | :
345: HUMAN PHYSIOLOGY course, via 9 SEC ET a er et Ooo eect ot acs?
Operational Procedure for Educational Services #MC3-53090. This approval is not to be construed as
approval for the possession of. more than ten (10) books and/or other study materials in this Inmate’s
cell at any one time. A hardcover textbook will be allowed if softcover is not available. Computer, video
and online services are not available. Inmate will be solely responsible for all financial costs. This chrono

"AI valid for one year, 5/30/03 - 5/30/04.

| f —}—_— oo Z LO eli) Lh. ANeno~
GAsyarthout, Associate V. Federico, Supervisor of M. Moreno
Warden, Central Services -° Correctional Education Programs: College Coordinator

Orig: C-File ce: I[/M Ed. File; Supervisor, Mailroom,
R&R, Proctor, College Coordinator, Inmate ,

DATE May 30,2003 - CORRESPONDENCE COURSE | MCSP-Ione GENERAL CHRONO
: — on ate _ 7 newmeeneneccarccmccrrs —
NAME and NUMBER MACKEY E-76532 B7-11 71. CDC-128-B (Rev, 4/74

Innate MACKEY, E~76532, 7-117L, who is assigned as an EOP Aide, is to be comnandel for
his assistance ‘and diligence. On 07/12/02, Mr. Mackey alerted staff that an EOP innate
was: down and require] nedical assistance. 4s he was perforning his assignment, he heard
a strange sound coning fron the lowar C-~Section showsr and went to javestigats.’ Upon
arriving at the shower, Mackey- found ani EOP innate Laying on the showar floor, covered
in blood. Mackey innediately alertel staff of what was happening, allowing us to respond
promptly. Mr. Mackey's alertness and jiligence possibly savei this innate's life ani should

be recognizel. : fo Yo pr
C-File ZC Jo —

Original : Oe
ec: R. Willians, CCI . E. HOBBS

Writer Co Building #10 Floor Officer

Innate _ Facility "B" 2/W
DATE 07/12/02 (LAUDATORY) MCSP-—IONE ce GENERAL CHRONO
STATE OF CALIFORNIA. . DEPARTMENT OF CORRECTIONS

, , , ~~ CDEC 128 B (4-74)

NAME and NUMBER Mackey, James E-76532 07-117L

Inmate MacKey (E-76532, 07-1 17), is to be commended for his voluntary participation in the course entitled “The Four Agreements”, This inmate
participated fully, displayed a positive attitude towards improving himself, and his attendance and participation were very good. “The Four
Agreements” is a component of the MCSP ‘Stay Out of Prison’ (STOP) program.

Original:  C-File , A) - hag .

ce: = Writer M.KAY,CCI  ¢
Inmate Program Specialist

DATE: February 01,2002 “STOP” Program, Course Completion GENERAL CHRONO
‘ SR IEA A AVASIN SOE! OSI LINAS -
3 oe } _ CDC 128 B (4-74)

NAME and NUMBER 2:07-cv-GAlady ALA EResumenvara. Filed 01/13/07 Page 43-of 46

Inmate Mackey (E-76532, 07-1171): is to be commended for his voluntary participation in the “Emotional Literacy” course entitled “Houses of
Healing”. Topics discussed in this class included: Anger Management; Improving Coping Skills; and Dealing Effectively with Shame, Guilt, and

Forgiveness. This inmate participated fully ‘and displayed a positive attitude towards improving himself. His attendance and participation were very
good. “Houses of Healing” is a component of the MCSP ‘Stay Out of Prison’ (STOP) program.

Original: © C-File oe, “YY, Th 2

STATE OF CALIFORNIA

ce: = Writer - M. MERRITT, CCI
Inmate , _’ Program Specialist
DATE: ° May 10,2001 “STOP” Program, Course Completion GENERAL CHRONO
NAME and NUMBER MACKEY, JAMES - E-76532 B7-117L CDC-128-B (Rev.4/74)

. Since its inception, Mr. MACKEY has always made himself available to the Mental Health Program. When a new
system of tracking the EOP inmate groups was needed, Mr. MACKEY helped design and implement the new system, and
took on the daunting job of ordering supplies, equipment and furniture needed to set up the program from outside
vendors and created data bases, forms and individual tracking sheets for approximately 150 inmates, all while performing
his assigned duties as CCII's Clerk and Facility Captain's Clerk. These duties are now performed by three clerks who are
assigned full-time. Mr. MACKEY'S assistance to this program has been invaluable and his attitude regarding helping
inmates and staff should be commended. He has definitely been an asset to the Mental Health Program and I feel that he
will be an asset to community when he is paroled. In your consideration of his parole, please keep these things in mind,

c RE

Original: CFG’ tht | > (ger CPCS
Writer Lo . _ RULGEYSER .
Inmate fo oO Recreational

Facility "B”
DATE o30801 (LAUDATORY) -—- MCSP-IONE a, GENERAL CHRONO
NAMEandNUMBER MACKEY E-76532 © . 3 CDC-128-8 (Rev. 4/74
INMATE MACKEY HAS BEEN AN ACTIVE PARTICIPANT IN ALCOHOLICS ANONYMOUS FOR THE SIX MONTH

“PERIOD OF JULY 1, 2000, THROUGH DECEMBER 31, 2000.

HE IS TO BE COMMENDED FOR HIS DEDICATION TO THE: GROUP AND PERSONAL COMMITMENT TO RECOVERY.

CC: C-FILE ISA

COUNSLEOR POB DIPIERO
INMATE STAFF SPONSOR

WRITER MCSP

DATE: JANUARY 8, 2001 .. ALCOHOLICS ANONYMCUS MCSP-IOMIs GENERAL CHRONO
Minter pee : }

. _) . : . - oy ut ae
Case 2:07-cv-00347-ALA .'Document1-5 Filed 01/13/07 Page, 44:of 46
NAME AND NUMBER: MACKEY, JAMES E-76532 ‘B-7=250L = @D 5

North, Mandeville, La. 70471. so that he may pat ate in ¢
"The MASTERS PROGRAM in HEALTH, P,.- Bee ena ‘Sponte THERAPY’ .
MEDICINE", via correspondence. OE
This work has been authorized by the Associate Warden, Central
Services, via Supervisor of Corréctional Edueation Programs. This
approval is not.to be construed as approval for the possession of |
more than ten (10) books and/or study materials in this inmate’s
cell at any one time. The inmate will be solely responsible. for
all financial costs. This chrono will be valid for one year,

May 18, 1995 through May 18, 1996. o

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ph 3 te - G ~REASOR —

ALICIA sor dt ZEWER, Ed.D.

BO.
ne.
oe - nao

Supervisor
Education P

£ rrectional oo Associate Warden
ograms ' - Central Services

Original: C File .
cc: Inmate, Education File, CCI, Teacher, Education Office,
R & R, Mailroom, College Coordinator, and Literacy Facilitator

5/18/95 CORRESPONDENCE COURSE MULE CREEK STATE PRISON |

UMBER WACKEY B-76532 B7-250b 661288 Rav A174

CEERI PUE Ee ea ey tson STOP) Program at Mule
oughMareh 1995, the STay Out of Prison ( ce nw
From January Fison offered a 12'session course entitled "A Framework FOP ©
cr eevery" . his inmate volunteered to enter the pron and isplayed the oe He
" lee attendance and participation were good. SOP ee a
graduated. Fs attendanchanges in his life. He is now eligible for "graduate

desire to make positiv
group", and other ,adva
personal. growth

( oe PVA
M. MERRITT, CCI
_ Facility "B"-

oo TR a tenm . P
5-1-95 s.T.0.P. PROGRAM GRADUATION MCS _ GENERAL CHRONO

'

Case 2:07-cv-00347-ALA ‘ Document 1-5 Filed 01/13/07 Page 45 of 46

eee me ne tae path armen

NAME and NUMBER MACKEY, E-76532 / -B 7-250 L CDC-1288 (Rev. 4/74

Inmate Mackey, E-76532. has performed the duties of a Correctional Counselor.
II’s clerk, facility "EB", for several months. His attitude, willingness to
accept additionally assignments and his reliability has proven to be an asset
to the operation of classification process. — The documents that Mackey
provided are accurate and consistent.- Additionally, inmate Mackey displays a

pleasant attitude and willingness to accept. additional assignments.

Thanks for making my job a little easier.

R.X. PERRY, CCII

DATE McsP Facility "BY" ceyERALCHRONO
4/14/94 ;

NAME and NUMBER . MACKEY . E-76532 , - CDC-128-B (Rev. 4/74

This is to document that I/M MACKEY, B-76532,has successfully completed the MCSP
Laubach Action Tutor Training Workshop. The Laubach program is being used to increase
literacy among the inmate population by providing training to pesr tutors who will |

in turn help other inmates. This instruction in reading, writing, speech patterns,

and other academic skill areas is being carried out in accordance with California

State Legislative Intent and CDC Policy, and it utilizes training methods developed

in conjunction with the U.S. Department of Education. This inmate has completed the

12 hours of training required for the completion of this "Each One TeacH One" program.
His involvement in this training demonstrates his willingness to expand his own learning
and his‘desire to help others do the same. oo

Orig: C-File -~ . oo

ec: CCI @ Bas Pry La
Writer | C. QUEFFRORKLN
I/M os MCSP Literacy Facilitator

DATE December 1, 1993 . GENERAL CHRONO»
. : a a ,
y ‘want to Cape aaiedge He Aline itt! Neaekdy Shas Filed Groves the adenté Gidfith Services

department. For approximately the last two years, inmate Mackey has volunteered his assistance in purchasing: .
equipment and supplies for the department. He has demonstrated a high level of competency. He has been able
to obtain necessary information in making purchases. I want to thank inmate Mackey for all of his help these
past years. He has demonstrated a positive and helpful attitude. His assistance has enhanced the quality and

success of Mental Health Services.

Orig: Central File’ . - ane hrs pw

“NAMEandNUMBER = “MA AY, James . E76532 +. BeO7-117L —— cpe-128.8 (Rev. 4/74

cc: Medical File - oe LYNN/ARBIOS - .
Inmate BO Medical Secretary
Counselor oo
DATE 12-21-99 GENERAL CHRONO
NAME and NUMBER MACKEY — E-76532-°—s«&B-250L ChC-1268 (Rev. 4/74

- Inmate MACKEY, E-76532, has’ been assigned as CCII's clerk for 27 months. During this, period,

- MACKEY has proven himself to be. reliable, dependable, and trustworthy. He completes all as-
signed tasks with the minimal amount of supervision, consistently displays pride in maintain-
ing accuracy, and he has. established an excellent rapport with both staff and inmates. MACKEY
demonstrates initiative at his work site, and is both willing and capable of providing guidance

and assistance to his fellow inmate workers. His knowledge of the UCC operation has been an
invaluable asset to counseling staff, and he has maintained a pleasurable demeanor while co-
ordinating inmate appearances for UCC actions. MACKEY'S is a "sensitive" assignment, and he
has not once compromised the trust placed in him by staff. He displays interest in his day-to-
day duties, and is not hesitant in "taking the extra step" to ensure above average work. It
is readily apparent that MACKEY has chosen to better himself while incarcerated, without allow-
ing himself to become institutionalized. fa Lica)
cc: C-File . . Doe

R.W. TOWNSEND —

Writer . Correctional Counselor II

Inmate
DATE 3/21/96" ( LAUDATORY) MCSP-IONE - ‘GENERAL CHRONO
NAME and NUMBER MACKEY. R-76532 B-7-250-L — CDC-128-B (Rev, 4/74

During the months of. July, August and September, 1995, this inmate |
participated actively in a volunteer class entitled, "Understanding Your
Feelings." The 15-session course covered topics including anger management,
modifying responses to various feelings, and devdéloping empathy and assertive
communication skills. His attitude and attendance were very good.

. : , ¢
ORIG:#C-File : “YN. Wout
cc: Writer a M. MERRITT

Inmate Correctional Counselor II

Mule Creek State Prison

DATE 10-19-95 _ (LAUDATORY: SELF-HELP CLASS) MCSP GENERAL CHRONO ||
